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                             UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

 In re:                                             Case No. 19-00351-TLM
                                                    Chapter 7
 JANICEK, JOSHUA DALE
                                                    STIPULATED MOTION AND
 JANICEK, SARAH J.                                  AGREEMENT BETWEEN TRUSTEE
                                                    AND J.R. SIMPLOT COMPANY FOR
                                Debtors.            CARVEOUT AND SALE OF REAL
                                                    PROPERTY

          Noah Hillen (“Trustee”), the chapter 7 trustee in this case, and the J.R. Simplot Company

 (“JRS”) by and through its undersigned counsel of record, seeks approval of a carveout agreement

 regarding the real property (“Real Property”) located at 1284 S. Gosling Way, Eagle, ID 83616,

 as follows:

          1.     During the 2018 crop year, JRS provided Blue Diamond Turf, LLC (“Blue

 Diamond”) with crop inputs on an unsecured basis. In order to induce JRS to provide additional

 crop inputs for the 2019 crop year, among other accommodations, Blue Diamond agreed to

 execute a security agreement in favor of JRS for the significant sum it owed JRS.

          2.     On October 22, 2018, Blue Diamond executed a Secured Promissory Note (the

 “Note”) in favor of JRS, in the principal amount of $561,145.75, together with accrued and

 unpaid interest of $23,195.79 that accrued through September 29, 2018. Blue Diamond agreed

 to make annual payments to JRS in the amount of $156,121.74, starting February 20, 2019.

          3.     Blue Diamond failed to pay JRS $156,121.74 on February 20, 2019 and has

 defaulted under the Note.

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        4.       On October 30, 2018, Josh and Sarah Janicek (“Debtors”) executed a Continuing

 Personal Guaranty (the “Guaranty”) in favor of JRS, guaranteeing the Note. The Guaranty is

 also secured by a Deed of Trust encumbering the Real Property (the “Second Lien”).

        5.       The Real Property is encumbered by a first priority lien (the “First Lien”) in favor

 of First Interstate Bank, securing an indebtedness of approximately $195,000.

        6.       The Real Property is encumbered by the Second Lien, which secures an

 indebtedness of approximately $345,000.

        7.       The Real Property recently appraised for $522,000.

        8.       Rather than immediately initiate a foreclosure proceeding, JRS has elected to

 negotiate this carveout agreement with the Trustee and consent to the sale of the Real Property,

 subject to the terms and conditions set forth below.

        9.       Trustee and Simplot agree that Trustee may sell the Real Property pursuant to §

 363(f) for at least an agreed upon minimum sale price that would satisfy the First Lien and all

 closing costs in full, as well as generate sufficient proceeds to materially reduce the obligation

 owed to JRS that is secured by the Second Lien (“Minimum Sale Price”). The Minimum Sale

 Price is not disclosed herein, as the Trustee wants to attempt to maximize the recovery to the

 estate. JRS has consented to a carveout for the estate as specified in paragraph (c) below.

 Should the bankruptcy estate close on a sale of the Real Property, the parties agree the sale

 proceeds shall be distributed as follows:

             a. First, in satisfaction of the First Lien;

             b. Second, in satisfaction of all realtor fees (estimated at 6%), closing costs, title

                 insurance fees, home owner association fees, irrigation assessments, real estate

                 taxes, and all other reasonable costs of sale;



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              c. Third, the bankruptcy estate shall be entitled to a carveout of 8% of the remaining

                 sale proceeds after payment of paragraphs (a) and (b) above;

              d. Fourth, with all remaining funds being paid to JRS up to the value of the Second

                 Lien;

              e. Fifth, should any funds remain after the Second Lien is satisfied, those funds shall

                 be paid to the bankruptcy estate

        10.      If the bankruptcy estate is unable to close on a sale of the Real Property by March

 16, 2020, then JRS shall be granted relief from the automatic stay to exercise its state law rights,

 including foreclosure, regarding the Real Property, effective March 17, 2020.

        11.      Accordingly, JRS and Trustee ask this Court to enter an order approving the

 proposed carveout agreement between Trustee and JRS.

        DATED October 16, 2019.

                                                                     /s/ Noah G. Hillen
                                                                     Chapter 7 Bankruptcy Trustee


        DATED October 16, 2019.

                                                                     HAWLEY TROXELL

                                                                     /s/ Sheila Schwager
                                                                     Attorneys for J.R. Simplot Co.




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 16, 2019, I filed the foregoing electronically
 through the CM/ECF system, which caused the following parties or counsel to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

 Craig W Christensen      cwc@racinelaw.net, monique@racineolson.com

 Patrick John Geile pgeile@foleyfreeman.com,
 abennett@foleyfreeman.com;r59345@notify.bestcase.com

 Daniel C Green      dan@racinelaw.net, mcl@racinelaw.net

 Michael R Johnson      mjohnson@rqn.com, dburton@rqn.com;docket@rqn.com

 R Ron Kerl    Ron@cooper-larsen.com, kelli@cooper-larsen.com,bobbi@cooper-larsen.com

 Janine Patrice Reynard     jpr@magicvalleylaw.com

 Sheila Rae Schwager      sschwager@hawleytroxell.com, cdavenport@hawleytroxell.com

 US Trustee    ustp.region18.bs.ecf@usdoj.gov

 Brent Russel Wilson     bwilson@hawleytroxell.com, cdavenport@hawleytroxell.com

 Jeffrey M Wilson     jeff@wilsonmccoll.com, louis@wilsonmccoll.com

       AND, I FURTHER CERTIFY that on such date I served the foregoing on the following
 non-CM/ECF Registered Participants via U.S. Mail, Postage Prepaid:

  Attached matrix.




                                                               /s/ Noah G. Hillen
                                                               Chapter 7 Bankruptcy Trustee




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